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IN THE UNITED STATES DISTRICT COURT
F()R THE DISTRICT OF MARYL_AND

VICTORIA O. OSHODI *
*
*
v. * Civil No. - JFM-15-324l
*
EDWARD S. COHN, ET AL. *
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MEMORANDUM

Plaintiff has filed this pro se action to challenge disclosure of her property located in
Charles County, Maryland. Defendants have filed motions to dismiss. Plaintiff has not
responded to the motions. The motions will be granted

The property in question was sold at a foreclosure sale pursuant to the procedures of
Maryland laW. The Circuit Court for Charles County, Maryland, entered an order ratifying the
foreclosure sale on October 28, 2015. On November 9, 2015, the Circuit Court granted the
purchaser’s motion for judgment of possession of the property.

Plaintiff’ s claims are barred by res judicata and the Rooker-Feldman doctrine

Accordingly, plaintiff’s action will be dismissed.

Date: ' /{ ¢W\’

J. Fre rick Motz
Unit d States District Judge

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